Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3066 Page 1 of 38




            FELDMAN DECLARATION EXHIBIT C
           LODGED PROVISIONALLY UNDER SEAL
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3067 Page 2 of 38




                                                                  EXHIBIT C
                                                                        048
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3068 Page 3 of 38




                                                                  EXHIBIT C
                                                                        049
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3069 Page 4 of 38




                                                                  EXHIBIT C
                                                                        050
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3070 Page 5 of 38




                                                                  EXHIBIT C
                                                                        051
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3071 Page 6 of 38




                                                                  EXHIBIT C
                                                                        052
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3072 Page 7 of 38




                                                                  EXHIBIT C
                                                                        053
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3073 Page 8 of 38




                                                                  EXHIBIT C
                                                                        054
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3074 Page 9 of 38




                                                                  EXHIBIT C
                                                                        055
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3075 Page 10 of 38




                                                                  EXHIBIT C
                                                                        056
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3076 Page 11 of 38




                                                                  EXHIBIT C
                                                                        057
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3077 Page 12 of 38




                                                                  EXHIBIT C
                                                                        058
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3078 Page 13 of 38




                                                                  EXHIBIT C
                                                                        059
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3079 Page 14 of 38




                                                                  EXHIBIT C
                                                                        060
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3080 Page 15 of 38




                                                                  EXHIBIT C
                                                                        061
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3081 Page 16 of 38




                                                                  EXHIBIT C
                                                                        062
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3082 Page 17 of 38




                                                                  EXHIBIT C
                                                                        063
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3083 Page 18 of 38




                                                                  EXHIBIT C
                                                                        064
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3084 Page 19 of 38




                                                                  EXHIBIT C
                                                                        065
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3085 Page 20 of 38




                                                                  EXHIBIT C
                                                                        066
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3086 Page 21 of 38




                                                                  EXHIBIT C
                                                                        067
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3087 Page 22 of 38




                                                                  EXHIBIT C
                                                                        068
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3088 Page 23 of 38




                                                                  EXHIBIT C
                                                                        069
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3089 Page 24 of 38




                                                                  EXHIBIT C
                                                                        070
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3090 Page 25 of 38




                                                                  EXHIBIT C
                                                                        071
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3091 Page 26 of 38




                                                                  EXHIBIT C
                                                                        072
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3092 Page 27 of 38




                                                                  EXHIBIT C
                                                                        073
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3093 Page 28 of 38




                                                                  EXHIBIT C
                                                                        074
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3094 Page 29 of 38




                                                                  EXHIBIT C
                                                                        075
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3095 Page 30 of 38




                                                                  EXHIBIT C
                                                                        076
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3096 Page 31 of 38




                                                                  EXHIBIT C
                                                                        077
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3097 Page 32 of 38




                                                                  EXHIBIT C
                                                                        078
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3098 Page 33 of 38




                                                                  EXHIBIT C
                                                                        079
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3099 Page 34 of 38




                                                                  EXHIBIT C
                                                                        080
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3100 Page 35 of 38




                                                                  EXHIBIT C
                                                                        081
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3101 Page 36 of 38




                                                                  EXHIBIT C
                                                                        082
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3102 Page 37 of 38




                                                                  EXHIBIT C
                                                                        083
Case 3:14-cv-01158-BAS-JLB Document 153-5 Filed 02/29/16 PageID.3103 Page 38 of 38




                                                                  EXHIBIT C
                                                                        084
